-fu        //ortrz,
      Jlrt ',/, q-u 14 ltlr;"q lj" /r;* l, /,ttt      /l;   /.rr/ /tt^   / //rJ    /L*
       nIU fu a/*1/ /t"-r" a/r"rrlA"/'# 7]/o./?'
alu .amru                                                    l-
                                              7t,/,lu,oa"z,/rtl-"
b ar n *1" ,!W lx /4 "a 7*r;({",
    n/rr/ rz a- /^r-lr"-t"l-',;-. J /rt* /lt*taL"b,rt -" /t; "b hr.rr zp^z*u
/rrr,"" ,r/- rr,"h"/ /'* ,44. /" ,/rra u 4rr, /"d/-       /tjnr^ "r"h//rr/
b.&&r!/ fu, lz ^/",,)'""A4/h   -ptt,r*. &"-,""^
                                            fil,ry' .tvL
                                                       &
b/ "trhAU,,J*, / ,rr+ re'an/       a^/ )/ a
                             67*n!*r.           /"1^-f
,/'-r* /io/, J* ,,,iW/" ";";r,"/ 1- /- /l'" /rt "//'^n.
   /z crrla;rlq ,t4a/4 .4ztttz/"/ /rrr^"4 i^ /r";-rrt"g ,"r4r/"rA ; "hr,'qo,/5,'/
H"- a,+ty'z",rt*rrr/ ftza,Mv1/L
                              "il"/ /r"/       /t-( f,tt"lt    "" . A"J Pt/rr^/
                                         f"f/"
A"/, //" "*,4/.rt'"- "/ tt%U "*?/r, u/c.r,* "o"nfl.,n ry             /r^r,r{,"L ,,""J
a//r;/,.      /-^4
            "r,rrr#  v

  /Ju o,ru^       "4* /'r^rJl-r'r.(*"*/  ,ilaa /rt ,, Mq   . A! 4 ll"h
h"nlrb /rttJ ca;rrC * "tn t2-*fr-"rr"r"^("rr4 ",/^rf H";1r"t4. J-not,r,
k< aru/rd- e4'rr4 t" /4 l'*',r/.iln 4 p,rlb*.'a'J * /,'f
W *4*,* ua.tL ff fr,"4 h /^4 /^t*. ,// - o .{oilrr* ,'r*,I/-
"gL/1g
      ;*$,^rJ/*  il,",, jM o* tn /1" g t^',r-,^t
" J/;,,J<.ry"rc fu retr^, ry ry""r/,,r.;/-r'f","/"
    dr'etP*t
rc
                                             -ffi^/nm
                                        Jr^t"h


25, -/ *ro A/"/          /'rb,} r/lr//r"r,t*,'a/r"f/\rrr.




 Case 2:08-cr-00038-RLJ-MCLC Document 404-5 Filed 01/12/10 Page 1 of 1 PageID #:
                                     3012
